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Full length article

Functional MRI in prenatally opicid-exposed children during a working
memory-selective attention task

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ARTICLE INFO ABSTRACT

Beckground: Oploid indused cerebral changes may contrbuta te nevropeychological difficulties, Ihe arention,
Basin. problems, frequently reported in: prenatally oploid-exposed children, Reduced regional brain volumes have heen
shown alter prenatel oplak! exposure, but no study te date has explored the possthte impact of prenatal opioids
EMRE on brain activation patterns

interials aad methade A hospital-based sample of prenatally oplold-exposed school-aged children (7 = 11) and
twexposed contends (a = 12) underwent functional magnate resonanee imaging GMRD) duxing a combined
working momorpécledive altention tsk, Within.groap- and betweenaroup analyses of Moodosyeen-level-
dependent (OLD) activation were performed uslag the SPM12 software package and group differences in tack
performance were analyzed using Geox proportional hacands modeling.

Resulex: Overall, similar patterns of task related parietal and prefrontal BOLD activations were foul in both
groups, The optald-exposed group showed irapalred tisk performance, and during the most cognitive demanding
versions of the working menioxy-sdlective attention task, Increased activation in prefrontal cortest arias was
found in the opiofd-exposed gronp compared to contrels,

Gonchstom Our findings suggest that prenatal opicids affect later brain. function, visible theagh changes in
BOLD activation patterns, However, cesults should be considered prelindnary uatll replicated in larger samples
better suited to contral dor potential confounding factors.

1. Introduction stal, 2000)

Both cognitive and behavioral effects of prenatal opioid exposure

Recent studies on the prevalence of neonatal abstinence ayndrome
(NAS), a commen consequence of prenatal apioid exposure, indicate a
worldwide increase in the number of children exposed to opioids In
wiews (Davies et al., 2016; Patrick et al, 2012). Consequences of pre
natal eploid exposure heyond NAS are still debated Géactler e al,
2014; Jones ef al, 2034) and the research base is scares, especially
when it comes t possible long term effects (elinke and Sukh, 2013).
A web of interconnected risk factors complicates the Interpretation of
repeatedly reported suboptimal neurocognitive outcomes in prenatally
opioid exposed children (funt et al, 204M: Nypaard et al., 2018; Geno

have been demonsteated in aniaal models (Chen et al, S015; Wang and
Han, 2009). Possible mechanisms underlying altered brain function, as
suggested by cell culture and animal studies, include increased apop

tosie of neurons and glia cells (Hu et al, 2002), altered nearonal dif
ferentiation (Dhelakhva ct al., 2016), decreased neurogenesis (Wu et al.,
2614), and altered meyelination (Vesinl Laborde ot al, 20141. Both
opioid receptors and opioid ligands are expressed in the fetal brain, and
there is growing evidence of the endogenous opioid systems as a reg

ulator of neurogenesis, with inhibitery effects of opfaids (Sargeant
et al, 2008). Opioids can affect several neurotransmitters in the

Abbreviations ADAD, attestion-doficit/hyperctviiy disorder; BOLD, blood-oxygerlevel-dependent; EPI, echo planar iamging: EMBL, fanctional magnetic reconanee Imaging: FARD,
fetal alcohol spactrum: disorder; PWR, fomilywise error; HR, hazard satlo; MONI, Montreal Neurologteal Iistitutes NAS, neonatal abstinence syndoome: OMT, opioid malitenance treatment
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developing brain, and alterations in neurotransmission could possibly
interfere with cognitive development in areas like memory, executive
function, and attention (Kenijnenberg and Melinder, 2011), However, it
is still unclear whether negative effects of opioids on the developing
fetal brain contribute to the neuropsychological impairments observed
in prenatally exposed children.

Results from a recent longitudinal brain imaging study suggested
that several early life factors have an impact on the brain and cognition
for the entire life course (Wathovd ef al., 2016), Neurcimaging studies
have made important contributions to our understanding of how pre
natal drug exposures can affect normal brain development, and evi
dence of brain structures and patterns of functional activation being
altered in exposed children is accumulating (Roussotte et al, 2010;
Deranf et al, 2009), However, very few studies have investigated
possible brain alterations after prenatal opioid exposure. Structural
brain changes in opioid exposed children have been reported in a few
small scale samples, including one report on ten children born to mo
thers with histories of heroin abuse during pregnancy that showed
subtle alterations in structures involved in frontal striatal circuitry
(Walhova et al, 2007). Confounding factors difficult to account for in
such small samples preclude firm conclusions, but some of the changes
could still be linked to attentional difficulties in the exposed group
CWalhovd et al, 2007). To date, no studies have examined possible
effects of prenatal opioid exposure on brain activation patterns,

The aim of the present study was to investigate brain activation
patterns in school aged children with prenatal opioid exposure using
functional magnetic resonance imaging (fMRI). In children with pre
natal drug exposure, very high rates of attention deficit/hyperactivity
disorder (ADHD) have been reported, regardless of the type of drug
exposure (Eigen et al., 2007), and increased risk of attention problems
and ADHD has been widely reported in prenatally opioid exposed
groups (Ocnoy et al, 2001; Ornoy et al., 2016; Sunde Wahisten and
Sarman, 2013; Nygard et al, 2014). Associations between attention
problems and prenatal opioid exposure have also been found in studies
trying to account for the impact of genetic vulnerabilities and postnatal
environmental influences (Orney et al., 2001; Ornoy et al, 2016), Ex
ecutive dysfunction is regarded as a key factor in the complex neu
ropsychology of ADHD (Willcutt ef al, 2008), and impaired executive
functions have been demonstrated in children with prenatal opioid
exposure (Konijnenberg and Melinder, 2015). In the present study, a
task combining working memory and selective attention was chosen.
These are executive functions crucial for normal cognitive function, and
most likely implicated in the neurodevelopmental impairments re
ported in prenatally opioid exposed children. We hypothesized that
prenatally opioid exposed children would show impaired task perfor
mance with corresponding differences in blood oxygen level dependent
(BOLD) activation as compared with unexposed controls,

2. Materials and methods
2.1, Participants

The opioid exposed group was derived from a larger group of
children with prenatal drug exposure referred to the pediatric depart
ment at Haukeland University Hospital in Bergen, Norway, between
1997 and 2012. A total of 70 children, aged 10 14 years, identified as
prenatally drug exposed, were invited to undergo an MRI examination,
as previously described (Sirnes ef al., 2017). Children were identified as
prenatally drug exposed if they had been admitted to the neonatal
department due to maternal drug use, in most cases treated for with
drawal symptoms, or if they were referred to a pediatric neurologist at a
later age with a medical history of prenatal drug exposure and symp
toms of attention and/or behavioral problems. Among the initial 43
children who agreed to participate, 20 children were exposed to
opioids, either from heroin abuse or from opioids given as part of opiaid
maintenance treatment (OMT), and were therefore included in the

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present study. Information regarding exposure was based on history,
but given the presence of heavy substance abuse, detailed information
about the frequency or amounts of opioids and the type of other drugs
used during pregnancy was not readily available. However, children
were only included in the study if prenatal opioid exposure could be
confirmed, either in medical records (obstetric or pediatric) or by in
formation from their mother.

For each drug exposed child included in the study, the first child of
the same gender born at Haukeland University Hospital on the same
date, with a birth weight above the 10th percentile (= 3000), was
invited to serve as a matched control. If they declined, the next child
born on the same date (or the nearest date} was contacted, For the 20
opioid exposed children included, only 17 controls were successfully
recruited, hence 20 exposed children and 17 control children under
went MRI scanning. Eight children (five opicid exposed and three
controls} were excluded from analyses due to abortion of the fMRI
protocol by the child. In addition, scans from two opioid exposed
children and two controls had to be excluded due to head movement
artifacts (> 5mm translation in any of the four experimental condi
tions) and scans from two opicid exposed children were excluded due
to dental braces distorting the images. Thus, the final sample for this
study consisted of 11 prenatally opioid exposed children and 12 un
exposed controls. Response legging failed for one participant (in
exposed control} during fMRI. As scanner observational data revealed
appropriate task performance, data from this participant was still in
cluded in the analyses of the BOLD fMRI data, while analyses of task
performance were run with n = 11 +4 11.

All structural images were inspected by an experienced pediatric
neuroradiologist, No major structural abnormalities were found.
Somatic growth parameters (height, weight, and head circumference)
were obtained prior to MRI scanning. Background and clinical char
acteristics were obtained from medical records and/or questionnaires
filled in by parents or foster parents, The prevalence of ADHD was
determined by medical record review. Reports from earlier follow up of
the 11 children in the opioid exposed group showed a mean intelligence
quotient (IQ) score of 110.6 (SD: 13,9, median: 111, range: 82 130), as
assessed by the Wechsler Intelligence Scale for Children, fourth edition
and Wechsler Preschool and Primary Scale of Intelligence R.

The project was approved by the Regional Ethics Committee for
Medical Research in Western Norway (REK Vest 2010/3301), Written
consent was obtained from parents or foster parents and Child Welfare
Services, as appropriate, for all participants. Written consent was also
obtained from all children above the age of 12 years, and verbal consent
from participants younger than 12 years,

2.2, fMRI task

A working memory selective attention task combining the n back
task and the Stroop color word task was used (Braver et al, 1997;
Siroop, 1935). The protocol of the present study has been used earlier
by our group in a study on extremely preterm children. See ref.
(Griffiths et al, 2013) for the complete description of the procedure. In
short, the words RED, BLUE, GREEN, and YELLOW, each written in the
three incongruent colors (e.g. red written in blue, green, or yellow),
were presented sequentially through LCD goggles mounted on the head
coil, The participants were asked to press a response key when either
the word or the ink color of the word matched the one presented either
1 or 2 stimuli backwards in the presentation sequence, yielding four
different experimental conditions (word 1 back, word 2 back, color 1
back, color 2 back). These four experimental conditions were presented
in a pseudorandom order to avoid any order effects. A block design with
alternating ON and OFF blocks was used, with four ON blocks and four
OFF blocks in each of the four conditions. In each ON block, three to
five target stimuli were randomly presented within a sequence of 16
stimuli in total, each presented for 2250 ms. All participants were in
troduced to the procedure through a short computer program test

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sampling all four research conditions, and effort was made to be sure
the instructions were comprehended before entering the scanner,

4.3, MRI data acquisition

Structural and functional images were acquired on a GE Signa Excite
HD 3.0 T (Milwaukee, WI, USA) MRI scanner, A high resolution three
dimensional Tl weighted structural image was collected sagittally for
co registration with functional data using a fast spoiled gradient re
covery sequence (TR = 8ms; TE = out cf phase; FA 11°; 256 x 256
matrix; FOV = 256mm; slice thickness 1.0mm). Functional images
were collected axiaily using an Echo Planar Imaging (EPI) sequence
with the following parameters: TR = 3000ms, TE = 30ms, FA 90°,
128 x 128 matrix, FOV = 220mm, no. of slices 38, slice thickness
3mm with 0.5 mm skip, voxel size 1.72 x 1.72 x 3.5mm. Fourteen EFI
scans per 8 blocks, arranged in a task rest task manner, making a
total of 112 scans, were analyzed for each of the four conditions (five
initial dummy scans were discarded before data analysis). Total scan
time was approximately 45 min,

2.4, Data analysis

2.4.1, Sample characteristics and task performance

For descriptive statistics, the mean and SD is reported, as well as
counts and percentages. Although the two study groups were primarily
1:1 matched for sex and age, the groups were treated as independent in
our analyses, as matching was disrupted by appropriate exclusions of
more than one thitd of the participants as described in Section 2.1,
Comparisons of continuous variables and dichotomous variables be
tween groups were done with Gosset's independent t test and Fisher's
exact mid p test respectively. During fMRI, the participants were in
structed to respond to certain target stimuli, and time to correct answer
was recorded. To allow for both response accuracy and reaction time to
be modeled simultaneously, time to correct task response was analyzed
using the Cox proportional hazards model (Cox, 1972), For each target
stimuli, time to correct answer was registered, with maximal response
time (2250 ms} registered if a correct response was not obtained. If
there was not 4 correct answer, the time to response was considered to
be censored as opposed to uncensored when the correct answer was
obtained, Altogether, 1430 observations were included in these ana
lyses (65 target stimuli x 22 children}. As each child responded to
multiple target stimuli, a frailty term for child was included (Hougaard,
1995), Primary exposure of interest was a group variable coded 0 for
opioid exposed children and 1 for controls, The results are reported
using the hazard ratio (HR) with 95% CI, ag. a HR > 1 means a
greater instant probability of a correct answer for a control than an
exposed child. Other variables possibly influencing task performance
were difficulty level (4 different experimental conditions) and birth
weight. All children performed the same tasks, so by the design, ex
perimental condition was independent of exposure group and was not
adjusted for in the models. Birth weight may be a mediator of the effect
of exposure on task performance, and analyses were done without and
with birth weight as an additional covariate to study any mediating
effect. Interactions were tested between group and both birth weight
and difficulty level. All significance tests were two sided, and a sig
nificance level of p < 0.05 was set. Analyses were performed using
IBM SPSS Statistics version 23 and Stata version 14.0 (Stata Corp.
College Station, TX).

2.4,2, MRI data

Image processing and data analyses were performed using the
SPM12 software package revision 6470 (Welcome Trust Center for
Neuroimaging, London, UIC) and Matlab version 9.0 (MathWorks Inc.,
Natick, MA). Default preprocessing routines, as implemented in SPM12,
were followed for realignment of EPI scans and co registration of the
Tl weighted structural scan to the mean EPI scan in each of the four

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experimental conditions. Subsequent segmentation of the structural
scan was performed, providing normalization parameters used to nor
malize the EPI scans to Montreal Neuroiogical Institute (MNI) space
(resized voxels 3 x 3 X 3mm). Finally, the EPI scans were smoothed
with a Gaussian kernel of 8mm. Visual inspection of all EPI scans was
performed to assure quality.

Individual participant first level fixed effect analyses were per
formed on the ON OFF block contrasts for the four experimental con
ditions, creating four contrast images per person. These images were
subjected to second level random effect analyses using the general
linear model, as implemented in SPM12, Within group activation pat
terns for the opioid exposed and control groups were modeled using
one sample t tests, and two sample independent ¢ tests were used to
determine between group differences, To account for multiple com
patisons a cluster extent, random field theory based family wise error
(FWE) corrected threshold at p < 0.05 was used to define significant
activations in all analyses, with a primary cluster defining threshold at
p < 0.001. Anatomical location of significantly activated clusters was
identified using Anatomical Automatic Labeling (Tzourio Mazoyer
et al, 2002),

3. Results
3.1, Sample characteristics

Demographic and clinical characteristics cf the 11 prenatally
opicid exposed children and the 12 unexposed controls included in the
final sample are shown in Table 1. Of note, there was a high prevalence
of ADHD in the exposed group (64%), compared to the control group
(8%). All opioid exposed children included in the study either lived in
foster care homes or were adopted. These children had been placed
outside their biological homes at 4 mean age of 19.6 months (SD: 21.4,
range: 0 62). Four children in the exposed group were born to mothers
undergoing OMT, whereas seven children were born to mothers with a
history of heroin abuse during pregnancy. Prenatal exposure to drugs
other than opioids was reported in 8 of 11 (72%) opioid exposed chil
dren: benzodiazepines in six (55%), cannabis in three (27%), and am
phetamines in three (27%). Six children in the exposed group were
described with symptoms of NAS in the newborn period. According to
questionnaires filled in by their mothers, none of the included controls
were exposed to prenatal opioids or any other drtugs.

Table 1
Sample characteristics for 11 prenatally opioid-exposed children and 12 unexposed
controls.

Variable, statistic Exposed group Control group Bp
(n= 11) (m = 12)
Range Range
Males, rz (24) 6 (55) n/a 6 (50) n/a 0,842
Age at scan (months), 146.1 116-160 146.0 123-160 0.986
mean (SD) (18.3) (10.6)
Head circumference 54.9 52,5-57,0 54.5 51.5-58.2 0.547
(em), mean (SD) (1.4) (1.7)
Height (cm), mean (SD) 153 127-169 150 130~167 0.560
(11.8) (9.3)
Weight (kg), mean (SD) 43,9 228-645 43.4 29.3-68.8 0,906
(11.7) (10,0)
Left handedness, rn (%) 0 (0) n/a 1 (8.3) n/a 0,522
ADHD, n (94) 7 (64) n/a 1 (8.3) n/a 0.009
Birth weight (¢), mean 2956 2300-4010 3545 3040-4200 4.007
(SD) (520) (431)

Abbreviations: ADHD, attention-deficit/hyperactivity disorder; n/a, not applicable; p = p
values for group difference (controls vs, exposed) from independent t-test (continuous
variables} and Fisher's exact test with mid-p correction (dichotomous variables}.

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Table 2

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Results from Cox regression of time ta correct response on a working memory-selective attention task in 11 prenatally opioid-exposed children and 11 unexposed controls.

Variable Category Unadjusted models Adjusted for birth weight”
HR" 95% CL p HR" 95% CL p
Group Opicid-exposed 1,00 Reference 0.030 1,00 Reference 0,164
Controls 1.46 (1.04, 2.063 1.29 (0.90, 1.833
Birth weight group 2000-2500 ¢ 1,00 Reference 0.002 1,00 Reference 0.010
2500-3000 ¢ 1.50 (8.81, 2,77) 1.50 (0.83, 2.70)
3000-3500 ¢ 1.87 (1.20, 2.90) 1.62 (1.02, 2.57)
3500-4000 g 2.43 (1.40, 4,21) 1.89 (1.00, 3,56)
4000-4500 g 1,04 (0.60, 1.80) 0.87 (0.48, 1.55)
Difficulty level Color 1-back 1.00 Reference <= 0.001 n/i
Word 1-back 0.81 (0,70, 0.94) ni
Color 2-back 0.34 (0,28, 0.40) n/fi
Word 2-Dack 0.39 (0.33, 0.46) n/l

Abbreviations: HR, hazard ratio; Cl, confidence interval; p = p-value for the variable from likelihood ratio test; 1/1, not included.
* Estimated HR (instant probability of a correct answer) from Cox regression using a frailty model to account for dependency between multiple answers from the same partic{pant.
> All children performed the same tasks, so by the design difficulty level was independent of exposure group and was not adjusted for in the model,

3.2, Task performance

Overall, mean response accuracies of 86.7% (SD: 7,85%) and 92.5%
(SD: 7.89%) were found in the opioid exposed and control groups re
spectively, when the results from all the four experimental conditions
were combined, Results from Cox proportional hazards models, used to
analyze task performance, are presented in Table 2. The opioid exposed
group responded slower, with fewer correct answers than the control
group, as shown in Fig. 1, with an unadjusted hazard ratio (HR) of
control vs, exposed = 1.46 (95% CI: 1.04 to 2.06; p = 0.030), Adjusting
the model for birth weight revealed no significant group differences
(HR = 1.29; 95% Cl: 0.90 to 1.83; p = 0.164), Children with birth
weights in the range 3000 4000 g performed better, with faster correct
responses compared to children in the lowest birth weight group
(< 2500 ¢), No significant interaction between group and birth weight
was found, As expected, there were significant differences between the
four experimental conditions (p < 0,001), with lowest ratio of correct
responses in the more cognitive demanding 2 back tasks (Table 2).
However, the interaction between group and difficulty level (experi
mental condition) was not significant (p = 0,170),

Control group

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Fig. 1. Proportion of items not answered correctly in the working memory-selective at-
tention task for 11 prenatally opioid-exposed children and 11 control children combined
for four experimental conditions as estimated by a Cox proportional hazards model with
frailty to account for dependency between multiple answers from the same child.
Altogether 1430 tasks were analyzed showing higher proportion of items not answered
correctly in the exposed group (p = 0.030),

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3.3, {MRI activation patterns

Overall, the within group analyses showed similar, bilateral pre
frontal and parietal areas of BOLD activation in both groups, but more
widespread, diffuse activation in the exposed group in the more cog
nitive demanding conditicns (word 2 back and color 2 back tasks). In
the exposed group, only one large cluster, expanding widespread, bi
lateral cortical areas, survived corrections for multiple comparisons in
each of these 2 back tasks. ¥ig, 2 shows within group activation pat
terns for ail four tasks (word 1 back, word 2 back, color 1 back, and
color 2 back) for the two groups. The corresponding MNI coordinates
for peak voxel activations for the significant clusters are listed in
Table 3.

Results from the between group analyses revealed increased acti
vation in the exposed group in both 2 back conditions, whereas there
were no significant group differences in the easier 1 back conditions,
There were ne areas where the control group showed increased acti
vation relative to exposed children in any of the four experimental
conditions (contrel minus exposed contrasts). In Fig. 2, clusters with
significant group differences are shown, with corresponding peak voxel
activations listed in Table 4. In the word 2 back condition, one sig
nificant cluster in the left prefrontal cortex, including the left precentral
gyrus and superior and middle frontal gyrus, showed increased acti
vation in the exposed group. Increased bilateral prefrontal activations
in the exposed group were found in two clusters including left and right
middle frontal gyri in the color 2 back condition,

4, Discussion

Results from this first [MRI study on prenatally opioid exposed
children showed increased BOLD activation in prefrontal cortical areas
in the exposed group, as compared to unexposed controls, during the
most cognitive demanding versions of a working memory selective at
tention task. In both groups, task related activation patterns included
parietal and prefrontal cortical areas previously shown to be important
in working memory and selective attention tasks (Braver er al., 1997;
Owen eral, 2005; Nee et al, 2007), a finding that supports the validity
of our results. The opioid exposed group showed impaired task per
formance, but this group difference was no longer significant when
analyses were adjusted for birth weight.

Aberrant brain activation patterns in children have been reported in
fMRI studies exploring possible effects of maternal use of alcohol, co
caine, amphetamines, and tobacco on the developing fetal brain
(Roussette et al, 2010; Derauf et al, 2009; Bemmett er al, 2073).
However, to date, no study has examined specifically if prenatal opioid
exposure affects brain activation patterns. The majority of functional

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Fig. 2, Within-group BOLD activation patterns for the opioid-exposed group (n = 11) and the unexposed contrel group (mn = 12) separated by the four experimental conditions. Surface
renderings of activated clusters that survived corrections for multiple comparisons with a cluster-extent based threshold at FWE corrected p < 0.05. Abbreviations: BOLD, blood-oxygen-

level-dependent; FWE, family-wise error; L, left; R, right.

brain imaging studies on prenatally drug exposed children, have re
ported on the effects of heavy prenatal alcohol exposure (Roussotte
et al, 20.10). Several of these studies have shown increased prefrontal
BOLD response in alcohol exposed groups during working memory
tasks, but with varying degrees of behavioral differences (Spadeni et al.,
2009; Norman et al, 2013; O'Hare et al., 2009). Less efficient task re
lated networks, or compensation for other less active regions, have been
suggested as an explanation to these findings in alcchol exposed chil
dren (Spadoni et al, 2009; Norman et al, 2013). Similar compensatory
mechanisms could possibly explain our finding of increased prefrontal
activation in the opioid exposed group, On the other hand, Astley et al.
(Asuey et al, 2009) found significant working memory deficits in
children with fetal alcohol spectrum disorders (FASD) with corre
sponding lower brain activation in extended prefrontal and parietal
regions, particularly on the most cognitive demanding tasks. The au
thors have discussed a possible “ceiling effect”, where the capacity of
compensatory mechanisms to less efficient networks is surpassed, as an
explanation to the inability of the FASD group to increase activity in
response to increasing cognitive load (Astley et al, 2009). Impaired
working memory performance with corresponding decreased prefrontal
activation has also been reported in children exposed to methamphe
tamine (Roussotte et al, 2012), In the first BOLD fMRI study of ado
lescents with gestational cocaine exposure, no differences were found
between exposed and unexposed groups in performance on a working
memory task or BOLD activation patterns (Hurt et al., 2008). However,
similar to our findings in opioid exposed children, Sheinkopf et al, re
ported increased prefrontal activation in a group of children with pre
natal cocaine exposure compared to non exposed controls during a
response inhibition task (Sheinkopf et al., 2009). On the other hand,
reduced BOLD activity in frontal and cerebellar regions related to subtle
attentional challenges were recently found in a group of adolescents

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with prenatal exposure to cocaine and/or heroin (Schweitzer et al,
2015), In young adults with histories of prenatal marijuana exposure,
fMRI studies have shown increased brain activation across several dif
ferent executive function tasks. However, unlike our findings in opioid
exposed children, this increased activation has been consistently lo
cated in posterior brain regions (Smith et al., 2016).

Decreased activation in prefrontal cortical areas has been a con
sistent finding in numerous fMRI studies on children with ADHD
(Dickstein et al,, 2006). Reduced BOLD activity in frontal lobe regions
in patients with ADHD relative to controls has been repeatedly reported
across several different cognitive tasks (McCarthy et al, 2014), Less
activity in frontoparietal networks involved in executive function has
been one of the main findings in children with ADHD (Cortese et al,
2012), Contrary to this, we found increased prefrontal activation in our
opioid exposed group, despite the fact that there was a very high rate of
ADHD (64%) in this group. It is therefore tempting to speculate that
these differences could reflect different neural correlates of ADHD in
opioid exposed and non exposed groups. However, our sample was too
small to allow for comprehensive statistical analyses of subgroups, like
comparisons of opioid exposed children with and without a diagnosis of
ADHD. Future studies including larger samples and control groups with
and without ADHD would be needed to elucidate these possible dif
ferences,

Consistent with earlier reports of impaired executive function in
children with prenatal opioid exposure (Konijnenberg and Melindex,
2015), the exposed group in the present study performed poorer on the
executive function task compared to controls, with slower response and
fewer correct answers. However, the group difference found in the
unadjusted model was no longer significant when analyses were ad
justed for birth weight. Birth weight as a mediator of the possible effect
of opioid exposure on task performance could explain this finding. The

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Table 3

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Within-group analyses: Peak voxel descriptions for BOLD activation in significant clusters from whole brain analyses in 11 prenatally opioid-exposed children and 12 unexposed controls.

Task Group Anatomical area" Cluster size” Peak T Peak coordinates (MND
x y Zz
Color 1-back Opioid-exposed R inferior occipital gyrus 329 4.80 33 88 7
L Superior parietal gyrus 183 4.64 27 64 47
L Inferior occipital gyrus 230 4.38 30 88 7
L Supplementary motor area 146 4.09 3 14 50
R Angular gyrus 133 3.73 39 64 50
Controls L Fusiform gyrus 163 4,43 42 82 16
L Precentral gyrus 99 3,89 39 2 32
R Middle occipital gyrus 106 3,74 a9 88 1
Word 1-back Opioid-exposed R Middle frontal gyrus 1503 5.40 45 44 20
L Parahippocampal gyrus 2985 4.99 33 43 1
R Inferior occipital gyrus 84 4,82 33 88 4
R Cerebellum 162 4,30 33 79 25
L Precentral gyrus 98 3.73 48 11 32
Controls R Lingual gyrus 311 5.35 a4 91 16
L Fusiform gyrus 583 4.67 36 85 16
L Middle frontal gyrus 1388 4.60 48 17 35
R Middle frental gyrus 919 4,22 39 44 a
R Inferior parietal gyrus 312 4.14 51 49 41
Color 2-back Opioid-exposed R Middle frontal gyrus 19057 5.93 36 56 17
Controls L Middle frontal gyrus 4939 5.21 48 17 38
L Superior occipital gyrus 778 5.17 18 64 38
R Fusiform gyrus 137 4.59 48 31 16
R Precuneus 848 4.50 30 52 29
R Cerebellum 123 4.12 39 76 28
L Thalamus 81 3.71 12 13 8
L, Cerebellum 149 3.71 45 70 28
R Thalamus 119 3.70 12 10 11
Word 2-back Opicid-exposed R Superior frontal gyrus, dorsolateral 17,891 5.47 a7 17 sO
Controls R Angular gyrus 788 4,87 33 61 47
R Lingual gyrus 273 A474 24 88 16
R Inferior frontal gyrus, triangular part 1082 4.62 39 29 23
L Inferior parietal gyrus 454 4.41 30 70 41
L Fusiform gyrus 331 4,23 39 73 16
L Precentral gyrus 228 4.02 45 5 29
L Supplementary motor area 218 4.00 3 20 50

Abbreviations: BOLD, blood-oxygen-level-dependent; L, left; MNI, Montreal Neurological Institute; R, right.

* Local maxima labeling from Anatomical Automatic Labeling,

» Cluster size in voxels (3 x 3 xX 3mm), only clusters that survived correction for multiple comparisons with a cluster-extent based threshold at family wise error (FEW) corrected

p < 0.05 are shown.
* t-Values from one-sample t-tests.

exposed group in the present study had significantly lower birth weight
compared to controls, and prenatal opioid exposure has been associated
with increased risk of preterm birth and low birth weight (Mactier
et al, 2014), However, there are myriads of risk factors associated with
prenatal drug exposure, and it is still unclear if opioids have a direct,
causal effect on these birth outcomes (Jones et al., 26174). [tis therefore
difficult to know whether birth weight should be conceptualized as a
mediator or a confounder, A larger sample size or a more cognitive
demanding task (e.g. a 3 back task) could possibly reveal more con
vincing group differences in task performance. However, previous
studies (Griffiths et al., 2013), in scanner observations, and pilot scans
performed prior to our study, have indicated that the 2 back tasks used
were quite difficult for children in the chosen age range.

An abundance of data from animal and cell culture studies have
demonstrated adverse effects of opioids on brain development that
could possibly underlie altered brain activation patterns in prenatally
exposed children (His et al., 2602; Dholakiya et al, 2016; Wu et al,
2014; Vestal Laborde et al.. 2014; Farid et al, 2008), Interestingly both
animal and human data have demonstrated reduced thickness of frontal
cortical areas after prenatal opioid exposure (Walhovd et al, 2007;
Sadrale et al, 2008). In animal models, the endogenous opioid system
has been shown to be crucial in the control of oligodendrocyte function
and myelination (Vestal Laborde et al. 2014), and interference with
this system by maternal opioid use could alter the normal maturation
process of the developing brain. There is also circumstantial evidence

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suggesting that opicids can alter myelination in prenatally exposed
children (Walhovd et aL, 2010; Walhovd et al, 2012). Incomplete
myelination may result in poorer conduction efficiency and thus less
efficient neural function in related networks,

There are several limitations to the present study. The results should
therefore be considered preliminary and conclusions made with cau
tion. First of all, an observational study design precludes firm conclu
sions about causality even if a causal relationship between prenatal
opioid exposure and altered BOLD activation is plausible. The possible
effect of prenatal opicid exposure on brain development cannet be
distinguished from those of several known and unknown factors dif
fering between the exposed and control groups, a challenge in all stu
dies on drug exposed children. Some of the most obvious factors in
clude genetic vulnerabilities and psychosocial and lifestyle factors
associated with maternal substance abuse. The impact of many of these
factors on brain activation patterns is largely unknown. However, some
factors, like parental socio economic status, have been associated with
altered BOLD activation, including increased prefrontal activation
found in sociceconomically disadvantaged children (Sheridan et al,
2012). In our study sample, all opioid exposed children lived in stable
family situations (either in foster care or adopted). Most of these chil
dren had been placed outside their biological homes at an early age.
However, all had experienced multiple foster care placements. Social
and environmental differences between our study groups could influ
ence some of the observed differences. Future studies would benefit

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Fig. 3. Surface renderings of group differences in BOLD activation for the two most
cognitive demanding experimental conditions with cluster-wise corrections for multiple
comparisons (FWE corrected; p < 0.05). (a) calor 2-back, (b) word 2-bacl, In both these
conditions the opioid-exposed group (n = 11} showed increased BOLD activation relative
to unexpased controls (n = 12). Abbreviations; BOLD, blood-oxygen-level-dependent;
FWE, family-wise error; L, left; R, right.

from including control groups better matched for factors like living
conditions, family income, and parental education.

A small sample size may have reduced our power to detect sig
nificant but subtle group differences and the ability ta account for
possible confounders. Most children in the opioid exposed group in our
study were exposed to multiple drugs. Information regarding exposure
to non opioid drugs was based on history without toxicology testing,
and exposure may thus have been underestimated. Due to this uncertain
degree of exposure and the small sample size, we were not able to
control for exposure to non opioid drugs in our statistical modeling.
Therefore, the possible influence of drugs other than opioids cannot be
ruled out. However, only children with confirmed exposure to opioids,
and no children with known exposure to heavy maternal alcohol con
sumption, were included. In addition, our study lacked reliable data for
prenatal tobacco smoke exposure. However, contrary to our findings,
Bennett et al. (Bennett et al, 2013) found greater prefrontal activation
in their unexposed control group whereas tobacco exposed children
showed greater activation in inferior parietal regions during an n back
working memory task.

Due to the small sample size and the risk of masking possible opioid
effects that were mediated by low birth weight, we did not attempt to
adjust the between group analyses of BOLD fMRI data for birth weight.

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However, we find it unlikely that the selection of a low birth weight
group should explain the increased prefrontal activation seen in our
opioid exposed group, as decreased BOLD activation has been a con
sistent finding in FMRI studies of preterm and low birth weight groups,
including one study using the same fMRI paradigm as the one used in
the current study (Griffiths et al., 2013).

The use of a cluster extent based threshold to correct for multiple
comparisons in our study precludes inferences about specific anato
mical regions within significant clusters to be made with confidence
(Weo et al, 2014). Even with a primary cluster defining threshold of
p < 0.001, some of the activated clusters were large, spanning several
anatomical regions, The anatomical labels for peak voxel activation
listed in tables should therefore be interpreted with caution, as one
cannot infer that all these peaks were truly activated, but only that
there was a significant signal somewhere within each cluster. Detailed
discussion and comparisons of the anatomical localization of BOLD
activations could therefore not be performed based on our results,
However, our main finding of increased activation in the exposed group
was restricted to relatively smail clusters that could be localized in
prefrontal cortical areas with confidence. The effectiveness of cluster
extent based thresholding to correct for multiple comparisons in [MBI
studies has recently been called into question (Ekhund et al., 2016), but
the problem of inflated false positive rates was mainly shown for more
liberal primary cluster defining thresholds than the one used in the
present study (p < 0.001). To investigate differences in activation
patterns in greater detail, larger samples allowing for voxel vise cor
rection methods are needed.

The generalizability of our restlts is also limited, as the hospital
based sample of prenatally opioid exposed children included in the
study represents a subset of the exposed population. However, the signs
of opioid effects on brain function in our sample warrant further re
search, and if possible population based samples should be included in
future studies.

Finally, it should be acknowledged that fMRI uses level of oxyge
nated blood as a proxy for measuring the activity of neurons. The extent
to which differences in the BOLD signal between our study groups re
present actual differences in neuronal activation as compared to other
possible tnderlying mechanisms, like altered vascularization, remains
unknown.

5. Conclusion

Our findings suggest that prenatal opioid exposure affects brain
activation patterns during a working memory selective attention task.
Increased prefrontal activation in the exposed group in the most cog
nitive demanding tasks could represent compensatory mechanisms to
less efficient task related networks. However, results should be con
sidered preliminary until replicated in larger samples better suited to
explore subtle differences and account for potential confounding fac
tors,

Table 4
Between-group analyses: Peak voxel descriptions for BOLD activation in clusters with significant group differences between 11 prenatally opioid-exposed children and 12 unexposed
controls, .

Task Contrast Anatomical area* Cluster size” Peak ‘Tl Peak coordinates (MNI)

x y E
Color 2-back Optoid-exposed > controls L Middle frontal gyrus 277 5.78 33 38 23
R Middle frontal gyrus 186 5,17 33 41 17
Word 2-baek Opioid-exposed > controls L Precentral gyrus 148 5.00 39 4 53

Abbreviations: BOLD, bload-oxygen-level-dependent; L, left; MNI, Montreal Neurological Institute; R, right.

* Local maxima labeling from Anatomical Automatic Labeling,

> Cluster size in voxels (3 x 3 X 3mm), only clusters that survived correction for multiple comparisons with a cluster-extent based threshold at family wise error (FEW) corrected

p < 0.05 are shown.
* Values from independent étests,

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Transparency document

The Transparency document associated with this article can be
found, in online version.

Disclosure

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close,

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